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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION



In re MoneyGram International, Inc. Derivative            Lead C.A. No. 3:19-cv-00415-X
Litigation

                                                       Honorable Judge Brantley Starr

This Document Relates to:

        ALL ACTIONS




                         AGREED ORDER AND FINAL JUDGMENT

        The Court grants the Parties’ Joint Motion for Dismissal. This matter is hereby dismissed

with prejudice as to Plaintiffs Khong Meng Chew and Angelo Kaplan (“Plaintiffs”). This

dismissal is with prejudice only as to Plaintiffs and shall not affect any derivative or other litigation

filed by any other MoneyGram shareholders, including but not limited to the ongoing matter styled

Richardson v. Clark that is pending in the Delaware Court of Chancery as Civil Action No. 2019-

1015-SG. Each side shall bear their own costs. This is a final judgment that disposes of all parties

and claims in this litigation and is appealable. The clerk is directed to close this matter.

            IT IS SO ORDERED.

          February 24
DATED: ________________, 2020


                                                THE HONORABLY BRANTLEY STARR
                                                UNITED STATES DISTRICT JUDGE
